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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                                   §
In re:                                                             §   Chapter 11
                                                                   §
SHERIDAN HOLDING COMPANY I, LLC, et al.,1                          §   Case No. 20-31885 (DRJ)
                                                                   §
                                    Reorganized Debtors.           §   (Jointly Administered)
                                                                   §
                                                                   §   Objection Deadline: May 12, 2020
                                                                   §   @ 4:00 P.M. (C.T.)

     COVER SHEETS TO FIRST AND FINAL FEE APPLICATION OF EVERCORE
    GROUP L.L.C., PROPOSED INVESTMENT BANKER AND FINANCIAL ADVISOR
    TO THE REORGANIZED DEBTORS FOR ALLOWANCE AND PAYMENT OF AN
    ADMINISTRATIVE EXPENSE CLAIM FOR COMPENSATION FOR THE PERIOD
        FROM MARCH 23, 2020 THROUGH AND INCLUDING MARCH 24, 2020

Name of Applicant:                                           Evercore Group L.L.C.
Applicant’s professional role in case                        Investment Banker and Financial Advisor
                                                             to the Debtors and Debtors in Possession
Effective date of order approving professional’s             The Reorganized Debtors have requested
retention                                                    that the Bankruptcy Court approve
                                                             Evercore’s retention nunc pro tunc to the
                                                             Petition Date
                                                             Beginning of               End of Period
                                                             Period
Time period covered by this application                            3/23/2020                  3/24/2020
Time covered by any prior applications                                 N/A                        N/A




1
     The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized Debtor’s
     federal tax identification number, include: Sheridan Holding Company I, LLC (7648); Sheridan Investment
     Partners I, LLC (8607); Sheridan Production Partners I, LLC (8094); Sheridan Production Partners I-A, L.P.
     (8100); Sheridan Production Partners I-B, L.P. (8104); Sheridan Production Partners I-M, L.P. (8106); and SPP
     I-B GP, LLC (8092). The location of the Reorganized Debtors’ service address is: 1360 Post Oak Blvd., Suite
     2500, Houston, Texas 77056.
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Name of Applicant:                                                            Evercore Group L.L.C.
Total fees applied for in this application and in all prior                           $2,251,1502
applications (including any retainer amounts to be applied)
Total fees applied for in this application (including any retainer                    $2,251,1502
amounts to be applied)
Total professional fees requested in this application                                 $2,251,1502
Total actual professional hours covered by this application                               47.0
Average hourly rate for professionals:                                                    N/A
Reimbursable expenses sought in this application:                                       $6,2612
Total to be paid to priority unsecured creditors under the Plan                            $03

Percentage dividend to priority unsecured creditors under the Plan                       100%
                                                                                      $6,755,5964
Total to be paid to general unsecured creditors under the Plan
Percentage dividend to general unsecured creditors under the Plan                        100%

Date of Confirmation Hearing:                                                       March 24, 2020
Indicate whether plan has been confirmed:                                        Yes [Docket No. 76]




2
    Evercore will apply $14,545.68, the remaining balance of the $15,000 prepetition expense reserve previously
    paid to Evercore by the Debtors, towards reimbursement of these fees and expenses.

3
    Each Holder of an Allowed Other Priority Claim shall receive Cash in an amount equal to such Claim.
    See Plan, Article III.B.

4
    Each Holder of an Allowed General Unsecured Claim shall receive either: (i) Reinstatement of such Claim
    pursuant to section 1124 of the Bankruptcy Code; or (ii) Cash in an amount equal to such Claim.
    See Plan, Article III.B.



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                                       Professionals

      Evercore professionals rendering services during the Fee Period were:

                                       By Professional
              Professional                               Position     Hours
 Jeremy Matican                          Managing Director                12.5
 Curtis Flood                            Managing Director                13.0
 Evan Levine                             Vice President                    6.5
 Zichong Peng                            Analyst                           5.0
 Nathaniel Kostiw-Gill                   Analyst                          10.0
   Total                                                                  47.0
                                     Hours by Matter

  Hours expended by these professionals by matter during the Fee Period were:

                                          By Code
                                     Matter                           Hours
  1. General Case Administration                                          12.5
  2. Due Diligence                                                           -
  3. Business Plan & Strategy                                                -
  4. Financing, Capital Structure Review & Analysis                          -
  5. Plan of Reorganization                                                  -
  6. Board Communication                                                   7.0
  7. Creditor / Vendor Communication                                         -
  8. Expert Testimony                                                     22.0
  9. Travel                                                                0.5
  10. Evercore Retention                                                   5.0
     Total                                                                47.0


                                   Expense Summary

                           Summary of expenses by category:

                              Expense Category                       Amount
  Legal Fees                                                            $6,261
    Total Expenses                                                      $6,261




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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                  §
In re:                                                            § Chapter 11
                                                                  §
SHERIDAN HOLDING COMPANY I, LLC, et al.,3                         § Case No. 20-31885 (DRJ)
                                                                  §
                                   Reorganized Debtors.           § (Jointly Administered)
                                                                  §

FIRST AND FINAL FEE APPLICATION OF EVERCORE GROUP L.L.C., PROPOSED
  INVESTMENT BANKER AND FINANCIAL ADVISOR TO THE REORGANIZED
    DEBTORS FOR ALLOWANCE AND PAYMENT OF AN ADMINISTRATIVE
       EXPENSE CLAIM FOR COMPENSATION FOR THE PERIOD FROM
        MARCH 23, 2020 THROUGH AND INCLUDING MARCH 24, 2020


         Evercore Group L.L.C. (“Evercore”), proposed investment banker and financial advisor

to the above-captioned reorganized debtors, hereby submits its first and final fee application

(the “Application”) for the allowance and payment of an administrative expense claim for

compensation for professional services provided to those certain debtors that filed for chapter 11

on March 23, 2020 (collectively, the “Debtors”) in the amount of $2,257,411 during the period

from March 23, 2020 through March 24, 2020 (the “Fee Period”). In support of the Application,

Evercore respectfully states as follows:

                                          Jurisdiction and Venue

         1.      The United States Bankruptcy Court for the Southern District of Texas has

jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This matter is a core proceeding


3
    The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized Debtor’s
    federal tax identification number, include: Sheridan Holding Company I, LLC (7648); Sheridan Investment
    Partners I, LLC (8607); Sheridan Production Partners I, LLC (8094); Sheridan Production Partners I-A, L.P.
    (8100); Sheridan Production Partners I-B, L.P. (8104); Sheridan Production Partners I-M, L.P. (8106); and SPP
    I-B GP, LLC (8092). The location of the Reorganized Debtors’ service address is: 1360 Post Oak Blvd., Suite
    2500, Houston, Texas 77056.



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within the meaning of 28 U.S.C. § 157(b). Venue in this Court is proper pursuant to 28 U.S.C. §§

1408 and 1409.

       2.     The bases and standards governing the relief requested herein are sections 327(a),

328(a) and 330 of title 11 of the United States Code (the “Bankruptcy Code”), rule 2016 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), rule 2016-1 of the Bankruptcy

Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”), the General

Order in the Matter of Procedures for Complex Chapter 11 Cases (the “Complex Case

Procedures”) and the United States Trustee’s Guidelines for Reviewing Applications for

Compensation and Reimbursement of Expenses Filed under 11 U.S.C. § 330 (the “UST

Guidelines” and, collectively with the Bankruptcy Code, the Bankruptcy Rules, the Bankruptcy

Local Rules, and the Complex Case Procedures, the “Guidelines”).

                                         Background

       3.     On March 23, 2020 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code with a prepackaged Plan of

Reorganization. In connection therewith, on the Petition Date, the Debtors filed their Amended

Joint Prepackaged Plan of Reorganization of Sheridan Holding Company I, LLC and its Debtor

Affiliates Pursuant to Chapter 11 of the Bankruptcy Code (as may be amended, modified, or

supplemented, the “Plan”) and a related disclosure statement (the “Disclosure Statement”)

[Docket Nos. 11, 12].

       4.     At a hearing on March 24, 2020, the Bankruptcy Court approved the Disclosure

Statement, confirmed the Plan, and entered its Order Approving the Debtors’ Disclosure

Statement for, and Confirming, the Debtors’ Amended Joint Prepackaged Chapter 11 Plan

[Docket No. 76].




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       5.        On April 1, 2020, the Reorganized Debtors filed the proposed Order Authorizing

the Retention and Employment of Evercore Group L.L.C. as Investment Banker to the Debtors

and Debtors in Possession (the “Proposed Retention Order,” a copy of which is attached hereto

as Exhibit A).

       6.        On March 30, 2020, the Effective Date of the Plan occurred and the Reorganized

Debtors filed their Notice of (I) Entry of Order Approving the Disclosure Statement for, and

Confirming, the Debtors’ Amended Joint Prepackaged Chapter 11 Plan and (II) Occurrence of

Effective Date [Docket No. 116].

                                 Compliance with the Guidelines

       7.        The Application was prepared in accordance with the applicable provisions of the

Guidelines. Pursuant to, and consistent with, the relevant requirements of the Guidelines, as

applicable, the following exhibits are attached hereto:

                 A.     Exhibit A contains Evercore’s Proposed Retention Order;

                 B.     Exhibit B contains time records for the Fee Period detailing

                        the name of each professional for whose work compensation is sought and

                        the aggregate time expended by each professional;

                 C.     Exhibit C contains the Certification of Jeremy Matican regarding

                        Evercore’s compliance with the Complex Case Procedures;

                 D.     Exhibit D contains a summary and detailed description of Evercore’s fees

                        and reimbursable expenses, including legal fees, for the Fee Period; and

                 E.     Exhibit E contains a proposed order.




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         8.     To the extent that this Application is not in compliance with the Guidelines,

Evercore respectfully submits that such noncompliance is immaterial and requests a waiver of

the applicable requirements.

         9.     No understanding exists between Evercore and any other person for the sharing of

compensation sought by Evercore, other than as permitted by Section 504 of the Bankruptcy

Code.

                               Summary of Professional Services

         10.    To provide a meaningful summary of services rendered on behalf of the Debtors

and their estates, Evercore has established, in accordance with the Guidelines and its internal

time keeping procedures, the following matter numbers in connection with these chapter 11

cases:

               Matter Number      Description
                       1         General Case Administration
                       2         Due Diligence
                       3         Business Plan and Strategy
                       4         Financing, Capital Structure Review and Analysis
                       5         Plan of Reorganization
                       6         Board Communication
                       7         Creditor / Vendor Communication
                       8         Expert Testimony
                       9         Travel
                      10         Evercore Retention


         11.    The following is a summary, by matter, of the most significant professional

services rendered by Evercore. The detailed descriptions below and the time records attached as

Exhibit B demonstrate that Evercore was heavily involved in performing services for the

Debtors on a daily basis to meet the Reorganized Debtors’ needs in these chapter 11 cases. These

hours however, only include time spent by Evercore professionals working on these chapter 11



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cases on a postpetition basis and do not include the significant work done prepetition by

Evercore since September 2018 to prepare the Reorganized Debtors for a chapter 11 filing,

including negotiating, structuring and implementing a prepackaged Plan of Reorganization.

       12.     The subsequent prepetition and postpetition work and negotiations with the

various parties involved in this chapter 11 case contributed to the Plan ultimately being

confirmed by the Court.

        I.     General Case Administration (Matter #1)

               Total time postpetition: 12.5 hours

       13.     This category includes time spent by Evercore professionals on telephone calls

and in meetings with the Debtors, the Debtors’ attorneys and other professionals and parties-in-

interest regarding the status of the case. This category also includes the preparation and review

of court documents filed by the Debtors and other parties-in-interest except as such relate to the

Retention Application.

       II.     Due Diligence (Matter #2)

       14.     This category includes time spent by Evercore on becoming more familiar with

the business of the Debtors through management meetings, document review, site visits and

analysis. In addition, this category includes time spent by Evercore in developing a

comprehensive understanding of the industry in which the Debtors compete. This category also

includes time spent with various outsider constituents, including, but not limited to, creditor

committees, current or potential lenders and investors, providing due diligence information and

assisting such constituents in becoming more familiar with the Debtors’ business.




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      III.    Business Plan and Strategy (Matter #3)

       15.    This category includes time spent by Evercore: (a) conducting financial analysis

on the Debtors’ business plan, including reviewing and analyzing key operational and financial

assumptions in the business plan, (b) assisting in the development of alternative business cases

for the Debtors, (c) assisting the Debtors’ development of a course of action through the

bankruptcy process, (d) analyzing the valuation and debt capacity of the business as well as

analyzing creditor recoveries in various scenarios, and (e) reviewing other relevant financial

analyses.

      IV.     Financing, Capital Structure Review and Analysis (Matter #4)

       16.    This category includes time spent by Evercore professionals performing and

reviewing analyses with respect to creditor recoveries, liquidity and collateral, among other

things, as well as reviewing and negotiating terms of the Debtors’ exit credit agreement.

Evercore coordinated with the Debtors’ management team to create and maintain extensive

financial models for the analyses mentioned above. These models were used to analyze impacts

of liquidity, leverage, interest coverage and other financial metrics to determine appropriate

covenants.

       V.     Plan of Reorganization (Matter #5)

       17.    This category includes time spent by Evercore professionals preparing, reviewing

and negotiating documents related to the restructuring transaction, such as drafts of the Plan of

Reorganization, Disclosure Statement and Restructuring Support Agreement. In addition, this

category includes time spent in discussions with the various transaction parties necessary to

consummate such transactions.      As a part of those discussions, Evercore also spent time




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analyzing and summarizing comparable situations to inform discussions with potential

transaction counterparties.

       VI.     Board Communication (Matter #6)

               Total time postpetition: 7.0 hours

       18.     This category includes time spent by Evercore professionals preparing

presentation materials for the Debtors’ board meetings, attending board meetings in person and

participating in board meetings via teleconference. Evercore participated in frequent conference

calls and meetings with the board to discuss strategic and other issues relating to the chapter 11

process. Postpetition, Evercore participated in board meetings and responded to board member

information requests relating to the bankruptcy.

      VII.     Creditor / Vendor Communication (Matter #7)

       19.     This category includes time spent by Evercore professionals negotiating and

discussing numerous issues with vendors, lenders and their respective legal and financial

advisors. This category also includes time spent drafting and developing presentations to the

lenders and vendors and responding to creditor and vendor due diligence requests.

     VIII.     Expert Testimony (Matter #8)

               Total time post-petition: 22.0 hours

       20.     This category includes time spent by Evercore professionals preparing for expert

witness testimony and litigation support.

       IX.     Travel (Matter #9)

               Total time post-petition: 0.5 hours

       21.     This category includes time spent by Evercore professionals traveling to and from

the Debtors’ offices or other destinations on the Debtors’ behalf.




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        X.     Evercore Retention (Matter #10)

               Total time post-petition: 5.0 hours

       22.     This category includes time spent by Evercore professionals preparing and

reviewing the Retention Application and this Application.

       23.     Evercore submits that the foregoing professional services and advice it rendered

to the Debtors in connection with the chapter 11 cases prior to and during the Fee Period were

reasonable, necessary and beneficial to the Debtors, their creditors and their estates. All services

for which compensation is requested by Evercore were performed for, at the request of or on

behalf of the Debtors or their counsel. These services were performed at a high level and were

often subject to significant time constraints.        These services were necessary to address a

multitude of critical issues both unique to these chapter 11 cases and typically faced by large

corporate debtors in similar cases.

       24.     Typical of investment bankers of its kind, Evercore is not compensated by the

hour, but through a structure of fixed fees and related compensation, as set forth in the Proposed

Retention Order.       Accordingly, certain information appropriate to consideration of the fee

requests of hourly-rate compensated professionals, such as blended rates or maturation, does not

exist for Evercore.

                      Evercore’s Requested Compensation Should be Allowed

       25.     Section 330 of the Bankruptcy Code provides that, subject to section 328 of the

Bankruptcy Code, a court may award a professional employed under section 327 of the

Bankruptcy Code “reasonable compensation for actual, necessary services rendered...and

reimbursement for actual, necessary expenses.”

       26.     The Proposed Retention Order would approve Evercore’s compensation pursuant

to section 328 of the Bankruptcy Code, subject to the terms of the Proposed Retention Order.


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Accordingly, compensation is sought subject to the standard of review set forth in section 328 of

the Bankruptcy Code, and not the standard of review set forth in section 330 of the Bankruptcy

Code, but subject to the terms of the Proposed Retention Order.

       27.     The services summarized by this Application and rendered by Evercore to the

Debtors prior to and during the Fee Period were substantial, highly professional and instrumental

to the Debtors in pursuing their restructuring efforts and maximizing value of the Debtors’

estates. Evercore respectfully submits that the compensation requested by this Application is

reasonable in light of the nature and value of such services.

                                Reservation of Rights and Notice

       28.     Although every effort has been made to include all fees incurred in the Fee

Period, some fees might not be included in this Application due to delays caused by accounting

and processing during the Fee Period. Evercore reserves the right to make further application to

the Court for allowance of such fees not included herein.

       29.     No trustee or examiner has been appointed in these chapter 11 cases. Notice of

this Application will be provided to: (a) the Office of the U.S. Trustee for the Southern District

of Texas; (b) the holders of the 50 largest unsecured claims against the Debtors (on a

consolidated basis); (c) the administrative agent and the collateral agent under the Debtors’

revolving credit facilities and senior secured term loan facilities and counsel thereto; (d) the

United States Attorney’s Office for the Southern District of Texas; (e) the Internal Revenue

Service; (f) the United States Securities and Exchange Commission; (g) the Environmental

Protection Agency and similar state environmental agencies for states in which the Debtors

conduct business; (h) the state attorneys general for states in which the Debtors conduct business;

and (i) any party that has requested notice pursuant to Bankruptcy Rule 2002.




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                                       No Prior Request

       30.     No prior application for the relief requested herein has been made to this or any

other court.




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       WHEREFORE, Evercore respectfully requests that the Court enter an order, substantially

in the form attached hereto as Exhibit E (a) awarding Evercore final compensation for

professional services provided during the Fee Period in the amount of $2,257,411.00; (b)

authorizing and directing the Debtors to remit payment to Evercore, to the extent not already

paid, for such fees; and (c) granting such other relief as is appropriate under the circumstances.


                                              /s/ Jeremy Matican
Dated: April 21, 2020                         Jeremy Matican
                                              Managing Director
                                              Evercore Group L.L.C.
                                              55 East 52nd Street
                                              35th Floor
                                              New York, NY 10055

                                              Proposed Investment Banker and Financial Advisor
                                              to the Debtors




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                            Exhibit A

                     Proposed Retention Order
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                       IN THE UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                                  §
In re:                                                            §   Chapter 11
                                                                  §
SHERIDAN HOLDING COMPANY I, LLC, et al.,1                         §   Case No. 20-31884 (DRJ)
                                                                  §
                                   Reorganized Debtors.           §   (Jointly Administered)
                                                                  §
                                                                  §   Re: Docket No. 127


                        ORDER AUTHORIZING THE
                    RETENTION AND EMPLOYMENT OF
           EVERCORE GROUP L.L.C. AS INVESTMENT BANKER AND
    FINANCIAL ADVISOR TO THE DEBTORS AND THE REORGANIZED DEBTORS

         Upon the application (the “Application”) 2 of the above-captioned reorganized debtors

(collectively, the “Reorganized Debtors,” and before the Effective Date (as defined in the

Application), the “Debtors”) for entry of an order (this “Order”) (i) authorizing the employment

and retention of Evercore as investment banker to the Debtors and the Reorganized Debtors in

accordance with the terms and conditions set forth in the Engagement Letter, attached hereto

Exhibit 1, (ii) approving the terms of Evercore’s employment and retention, including the Fee

and Expense Structure and the indemnification, contribution, reimbursement, and related

provisions set forth in the Engagement Letter, (iii) approving the modification of compliance

with requirements regarding time entry detail, and (iv) granting such other and further relief as is

just and proper, all as more fully set forth in the Application; and upon consideration of the

Matican Declaration; and this Court having jurisdiction over this matter pursuant to
1
    The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized Debtor’s
    federal tax identification number, include: Sheridan Holding Company I, LLC (7648); Sheridan Investment
    Partners I, LLC (8607); Sheridan Production Partners I, LLC (8094); Sheridan Production Partners I-A, L.P.
    (8100); Sheridan Production Partners I-B, L.P. (8104); Sheridan Production Partners I-M, L.P. (8106); and SPP
    I-B GP, LLC (8092). The location of the Reorganized Debtors’ service address is: 1360 Post Oak Blvd., Suite
    2500, Houston, Texas 77056.
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    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Application.
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28 U.S.C. § 1334; and this Court having found that this is a core proceeding pursuant to

28 U.S.C. § 157(b); and that this Court may enter a final order consistent with Article III of the

United States Constitution; and this Court having found that venue of this proceeding and the

Application in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court

having found that the terms and conditions of Evercore’s employment, including but not limited

to the Fee and Expense Structure set forth in the Engagement Letter and summarized in the

Application, are reasonable as required by section 328(a) of the Bankruptcy Code; and this Court

having found that Evercore is a “disinterested person” as that term is defined in section 101(14)

of the Bankruptcy Code; and this Court having found that the relief requested in the Application

is necessary and essential for the Debtors’ reorganization and such relief is in the best interests of

the Debtors’ estates, their creditors, and other parties in interest; and this Court having found that

the Debtors’ notice of the Application and opportunity for a hearing on the Application were

appropriate under the circumstances and no other notice need be provided; and this Court having

reviewed the Application and having heard the statements in support of the relief requested

therein at a hearing before this Court (the “Hearing”); and this Court having determined that the

legal and factual bases set forth in the Application and at the Hearing establish just cause for the

relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Debtors and the Reorganized Debtors are authorized, pursuant to sections 327

and 328(a) of the Bankruptcy Code, Bankruptcy Rules 2014 and 2016, and Bankruptcy Local

Rules 2014-1 and 2016-1 to employ and retain Evercore as their investment banker in

accordance with the terms and conditions set forth in the Engagement Letter as of the Petition



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Date, and to pay fees and reimburse expenses to Evercore on the terms and at the times specified

in the Engagement Letter, as modified by this Order.

        2.     The provisions set forth in the Engagement Letter are approved in all respects

except as limited or modified herein.

        3.     All of Evercore’s compensation as set forth in the Engagement Letter, including,

without limitation, the Fee and Expense Structure, is approved pursuant to section 328(a) of the

Bankruptcy Code, and Evercore shall be compensated and reimbursed pursuant to section 328(a)

of the Bankruptcy Code in accordance with the terms of the Engagement Letter, subject to the

procedures set forth in the Bankruptcy Code, the Bankruptcy Rules, the Bankruptcy Local Rules,

the Complex Case Procedures (except as otherwise set forth herein), this Order and any other

applicable orders of this Court.

        4.     None of the fees payable to Evercore shall constitute a “bonus” or fee

enhancement under applicable law.

        5.     Notwithstanding any provision to the contrary in this Order, the Application, or

the Engagement Letter, the U.S. Trustee retains all rights to object to the reasonableness of

Evercore’s request(s) for monthly, interim, and final applications for compensation (including

without limitation the Monthly Fee and the Debt Restructuring Fee,) and reimbursement of

expenses based on the reasonableness standard provided for in section 330 of the Bankruptcy

Code.

        6.     Evercore shall include in its fee applications, among other things, time records

setting forth narrative summaries of services rendered in half-hour increments and identifying

each professional rendering services, the categories and descriptions of services rendered by each

professional, the amount of time spent on each date by each such individual in rendering

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services, and the total amount of compensation requested by Evercore on behalf of the Debtors,

but Evercore shall be excused from keeping time in tenth-hour increments.

       7.     Evercore shall file fee applications for interim and final allowance of

compensation and reimbursement of expenses pursuant to the procedures set forth in

sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules, the Bankruptcy Local

Rules, and any orders of this Court; provided, however, that the fee applications filed by

Evercore shall be subject to review only pursuant to the standard of review set forth in

section 328 of the Bankruptcy Code and not subject to the standard of review set forth in

section 330 of the Bankruptcy Code, except as otherwise expressly set forth herein.

       8.     The Debtors and the Reorganized Debtors, as applicable, shall be bound by the

indemnification,   contribution,   reimbursement,    exculpation,    and    other   provisions   of

the Engagement Letter and will indemnify and hold harmless Evercore and the other Indemnified

Persons, pursuant to the Engagement Letter, subject to the following modifications during the

pendency of these chapter 11 cases:

              a.      Subject to the provisions of subparagraphs (b) and (c) below, the Debtors
                      are authorized to indemnify, and shall indemnify, Evercore for any claims
                      arising from, related to, or in connection with the services to be provided
                      by Evercore as specified in the Application, but not for any claim arising
                      from, related to, or in connection with Evercore’s post-petition
                      performance of any other services other than those in connection with the
                      engagement, unless such post-petition services and indemnification
                      therefor are approved by this Court; and

              b.      The Debtors shall have no obligation to indemnify Evercore for any claim
                      or expense that is either (i) judicially determined (the determination
                      having become final) to have arisen from Evercore’s bad faith, gross
                      negligence, willful misconduct, breach of fiduciary duty (if any) or self-
                      dealing or (ii) settled prior to a judicial determination as to Evercore’s bad
                      faith, gross negligence, willful misconduct, breach of fiduciary duty (if
                      any) or self-dealing but determined by this Court, after notice and a
                      hearing pursuant to subparagraph (c) infra, to be a claim or expense for

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                       which Evercore is not entitled to receive indemnity under the terms of the
                       Application; and

               c.      If, before the earlier of (i) the entry of an order confirming a chapter 11
                       plan in these chapter 11 cases (that order having become a final order no
                       longer subject to appeal), and (ii) the entry of an order closing these
                       chapter 11 cases, Evercore believes that it is entitled to the payment of any
                       amounts by the Debtors on account of the Debtors’ indemnification
                       obligations under the Engagement Letter (as modified by this Order),
                       including, without limitation, the advancement of defense costs, Evercore
                       must file an application in this Court, and the Debtors may not pay any
                       such amounts to Evercore before the entry of an order by this Court
                       approving the payment. This subparagraph (c) is intended only to specify
                       the period of time under which the Court shall have jurisdiction over any
                       request for fees and expenses by Evercore for indemnification, and not as
                       a provision limiting the duration of the Debtors’ obligation to indemnify,
                       or make contributions or reimbursements to Evercore.

       9.      Notwithstanding anything to the contrary in the Application, Engagement Letter,

or Matican Declaration, to the extent the Reorganized Debtors wish to expand the scope of

Evercore’s services beyond those services set forth in the Application, Engagement Letter, or

Matican Declaration, the Reorganized Debtors shall be required to seek further approval from

this Court.

       10.     Notwithstanding anything to the contrary in the Application, Engagement Letter,

or Matican Declaration, Evercore shall (i) to the extent that Evercore uses the services of

independent contractors, subcontractors or employees of foreign affiliates or subsidiaries

(collectively, the “Contractors”) in these cases, pass-through the cost of such Contractors to the

Debtors at the same rate that Evercore pays the Contractors, (ii) seek reimbursement for actual

costs only, (iii) ensure that the Contractors are subject to the same conflict checks as required for

Evercore, and (iv) file with the Court such disclosures required by Bankruptcy Rule 2014.

       11.     In the event that, during the pendency of these cases, Evercore seeks

reimbursement for any attorneys’ fees and/or expenses, the invoices and supporting time records

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from such attorneys, appropriately redacted to preserve applicable privileges, shall be included in

Evercore’s fee applications and such invoices and time records shall be in compliance with the

Bankruptcy Local Rules, and shall be subject to the U.S. Trustee Guidelines and approval of the

Court under the standards of Bankruptcy Code sections 330 and 331, without regard to whether

such attorney has been retained under Bankruptcy Code section 327; provided, however, that

Evercore shall not seek reimbursement from the Debtors’ estates for any attorney’s fees incurred

in defending against any objections to any of Evercore’s fee applications filed in these

bankruptcy cases.

       12.     Evercore’s Monthly Fee shall be prorated for any month in which Evercore is not

employed for each day of the month.

       13.     Evercore shall use its best efforts, and will coordinate with the Reorganized

Debtors and its other retained professionals, not to duplicate any of the services provided to the

Reorganized Debtors by any of its other retained professionals.

       14.     The Reorganized Debtors and Evercore are authorized to take all actions

necessary to effectuate the relief granted pursuant to this Order.

       15.     Notwithstanding any Bankruptcy Rule to the contrary, this Order shall be

immediately effective and enforceable upon its entry.

       16.     The relief granted herein, including, without limitation, approval pursuant to

section 328(a) of the Bankruptcy Code of the Fee and Expense Structure and the Indemnification

Obligations, shall be binding upon any chapter 11 trustee appointed in the chapter 11 cases, or

upon any chapter 7 trustee appointed in the event of a subsequent conversion of the chapter 11

cases to cases under chapter 7.



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       17.     To the extent that this Order is inconsistent with the Application, the Engagement

Letter, or the Matican Declaration, the terms of this Order shall govern.

       18.     Notice of the Application as provided therein shall be deemed good and sufficient

notice of such Application, and the requirements of the Bankruptcy Local Rules are satisfied by

such notice.

       19.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

Dated: __________, 2020
Houston, Texas                                       DAVID R. JONES
                                                     UNITED STATES BANKRUPTCY JUDGE




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                               Exhibit 1 to Order

                               Engagement Letter




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Sheridan Investment Partners I, LLC
Sheridan Production Partners I-A, L.P.
Sheridan Production Partners 1-M, L.P.
Attention: Shannon E. Young III, Vice President and Chief Financial Officer
9 Greenway Plaza, Suite 1300
Houston, Texas 77046

Gentlemen:

This engagement letter (this "Agreement") is to formalize the arrangement between
Evercore Group L.L.C. ("Evercore") and each of Sheridan Investment Partners I, LLC,
Sheridan Production Partners I-A, L.P., and Sheridan Production Partners 1-M, L.P.
(collectively, the "Company") regarding the retention of Evercore by the Company as a
financial advisor for the purposes set forth herein. This letter shall be effective as of
September 1, 2018 (the "Effective Date").

Assignment Scope:

The Company hereby retains Evercore as its financial advisor to provide the Company
with general investment banking advice and to advise it in connection with a Debt
Restructuring transaction (defined below) on the terms and conditions set forth herein.

As used in this Agreement, the term "Debt Restructuring" shall mean, collectively, any
restructuring, reorganization and/or recapitalization (including, but not limited to, a Debt
Restructuring pursuant to 11 U.S.C. §101 et. seq., as from time to time amended, and any
other current or future federal statute or regulation that may be applicable to a Debt
Restructuring of the Company (11 U.S.C. §101 et. seq. and those other statutes and
regulations are referred to herein generically as the "Bankruptcy Code")), including
without limitation, cancellation, forgiveness, satisfaction, retirement, purchase and/or a
material modification, including extension of maturity, or other amendment to the terms
of, or material reduction in outstanding principal amount of, the Company's outstanding
indebtedness (other than affiliate indebtedness), including pursuant to a repurchase,
tender or an exchange transaction, a Plan (as defined below) or a solicitation of consents,
waivers, acceptances or authorizations, including such a Debt Restructuring that is
financed in whole or in part with (i) any recall of prior Fund I limited partner
distributions or private issuance, sale, or placement of newly issued or treasury equity,
equity-linked or debt securities, instruments or obligations of the Company and/or
Sheridan Production Partners I-B, L.P. I (collectively, "Fund I") with one or more lenders
and/or investors or security holders, including, but not limited to, existing partners,
creditors, and/or other stakeholders of Fund I, or (ii) any sale of Fund I assets. For the
avoidance of doubt, (i) an amendment which is limited to the modification of financial
covenants or other temporary matters that does not provide for permanent debt reduction
or maturity extension shall not be considered, in and of itself, a Debt Restructuring and


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(ii) any repayment of debt that is not accompanied by a maturity extension shall not be
considered, in and of itself, a Debt Restructuring.

Description of Services:

1. Evercore agrees, in consideration of the compensation provided in Section 2 below, to
   perform the following services, to the extent it deems such services necessary,
   appropriate and feasible:

       a. Reviewing and analyzing Fund I's business, fund structure, operations, capital
          structure, and financial projections;

       b. Evaluating transaction alternatives and the financial implications on Fund I's
          capital structure and financial condition;

       c. Advising and assisting the Company in a Debt Restructuring transaction, if it
          determines to undertake such a transaction; which would include:

               1.   Assisting the Company in structuring a Debt Restructuring, including
                    developing a restructuring plan or plan of reorganization, whether out-
                    of-court or pursuant to the Bankruptcy Code (any such plans are
                    referred to generically herein as the "Plan");

              11.   Advising the Company on tactics and strategies for negotiating with
                    various stakeholders regarding the Plan;

              m. Advising the Company in its negotiations regarding the economic
                 terms of a Debt Restructuring and/or negotiating directly with Fund l's
                 stakeholders on its behalf regarding such a Debt Restructuring;

              1v. Providing testimony, as necessary, with respect to matters on which
                  Evercore has been engaged to advise the Company in any proceedings
                  under the Bankruptcy Code that are pending before a court
                  (generically referred to herein as the "Bankruptcy Court") exercising
                  jurisdiction over the Company as a debtor; and,

              v. Providing the Company with other financial restructuring advice as
                 Evercore and the Company may deem appropriate.

This engagement is limited to Fund I and does not include any transactions with regard to
the capital structures of other funds associated with Sheridan Production Partners
Manager, LLC (i.e., Fund II and Fund III). Should any such other funds choose to
engage Evercore with respect to any transactions regarding such other funds, such
engagement will be the subject of a separate written agreement.

In rendering its services to the Company hereunder, Evercore is not assuming any
responsibility for the Company's underlying business decision to pursue or not to pursue

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any business strategy or to effect or not to effect any Debt Restructuring and/or other
transaction.

Evercore shall not have any obligation or responsibility to provide accounting, audit,
"crisis management" or business consultant services to the Company, and shall have no
responsibility for design or implementation of operating, organizational, administrative,
cash management or liquidity improvements; nor shall Evercore be responsible for
providing any tax, legal or other specialist advice. The Company confirms that it will
rely on its own counsel, accountants and similar expert advisors for legal, accounting, tax
and other similar advice.



2. As compensation for the services rendered by Evercore hereunder, the Company
   agrees to pay Evercore the following fees in cash as and when set forth below:
   a. A monthly fee of $150,000 (a "Monthly Fee"), of which two Monthly Fees equal
      to $300,000 shall be payable on execution of this Agreement, and one Monthly
      Fee shall be payable on the first day of each month commencing November 1,
      2018 until the earlier of the consummation of the Debt Restructuring transaction
      or the termination of Evercore's engagement. 100% of the first five payments of
      Monthly Fee (up to a maximum amount of $750,000), to the extent actually
      earned and paid, shall be credited (without duplication) against any Debt
      Restructuring Fee payable; provided, that, in the event of a Chapter 11 filing, any
      such credit of fees contemplated by this sentence shall only apply to the extent
      that all such Monthly Fees and the Debt Restructuring Fee are approved in their
      entirety by the Bankruptcy Court pursuant to a final order not subject to appeal
      and which order is consistent with the terms of this Agreement or otherwise
      reasonably acceptable to Evercore.
   b. A fee (a "Debt Restructuring Fee"), payable upon the consummation of any Debt
      Restructuring transaction, equal to a fixed percentage of the Company's
      indebtedness at the time of this Agreement (which indebtedness shall be deemed
      to be $622,000,000 for the purposes of calculating the Debt Restructuring Fee), as
      set forth below:
          1.   For a Debt Restructuring transaction which is completed simultaneously
               with, or around the same time as, a sale of all or substantially all of Fund
               I's SCOOP assets (a "SCOOP Sale"), the percentage shall be equal to
               0.402%.
         11.   For a Debt Restructuring transaction which is completed after a SCOOP
               Sale, and for which there is no written consensual agreement among
               creditors on the Debt Restructuring at or around the time the SCOOP Sale
               is consummated, the percentage shall be equal to 0.724%.




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         111.   For a Debt Restructuring transaction which is completed without a
                SCOOP Sale having been completed before, or around the same time as,
                such Debt Restructuring, the percentage shall be equal to 0.965%.
    c. In addition to any fees that may be payable to Evercore and, regardless of whether
       any transaction occurs, the Company shall reimburse to Evercore monthly, and
       upon consummation of the Debt Restructuring or termination of this Agreement,
       (a) all reasonable documented out-of-pocket fees and expenses (including travel
       and lodging, data processing and communications charges, courier services and
       other appropriate expenditures), including expenses of counsel, if any; provided
       that Evercore shall obtain advance approval for any such amounts reasonably
       expected to exceed $50,000; provided, further, that this sentence shall in no way
       affect or limit the obligations of the Company as set forth on Schedule I attached
       hereto.
    d. If the Company requests, and Evercore provides, services (including, but not
       limited to, a financing or sale of Fund I assets) to the Company for which a fee is
       not provided herein, such services shall, except insofar as they are the subject of a
       separate agreement, be treated as falling within the scope of this Agreement, and
       the Company and Evercore will agree upon a fee for such services based upon
       good faith negotiations.
   e. On or before the 20th day of each month during the term hereof, Evercore shall
      submit to the Company an invoice itemizing amounts to be paid by the Company
      on the 1st day of the following month, including the Monthly Fee, reimbursable
      expenses and any other amounts due and payable by Company pursuant to the
      terms of this Agreement.
   f.   All amounts referenced hereunder reflect United States currency and shall be paid
        promptly in cash after such amounts accrue hereunder.

In addition, the Company and Evercore acknowledge and agree that more than one fee
may be payable to Evercore under subparagraphs 2(b) and/or 2(d) hereof in connection
with any single transaction or a series of transactions, it being understood and agreed that
if more than one fee becomes so payable to Evercore in connection with a series of
transactions, each such fee shall be paid to Evercore.
If a Debt Restructuring and/or Bank Amendment is to be completed through a pre-
packaged Plan or similar pre-arranged Plan (i) 50% of the fees pursuant to subparagraph
2(b) and 2(c) shall be earned and shall be payable upon the execution of definitive
agreements or delivery of binding consents with respect to such Plan and (ii) the
remainder of such fees shall be earned and shall be payable upon consummation of such
Plan; provided, further, that in the event that Evercore is paid a fee in connection with a
pre-packaged Plan or similar pre-arranged Plan, and such Plan is not thereafter
consummated, then such fee previously paid to Evercore may be credited by the
Company against any subsequent fee hereunder that becomes payable by the Company to
Evercore.


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Retention in Bankruptcy Code Proceedings:

3. In the event of the commencement of Chapter 11 proceedings, the Company agrees
   that it will use best efforts to obtain prompt authorization from the Bankruptcy Court
   to retain Evercore on the terms and conditions set forth in this Agreement under the
   provisions of 11 U.S.C. §§ 327 and 328 subject to the standard of review provided in
   Section 328(a), and not subject to the standard of review under 11 U.S.C. § 330 or
   any other standard of review. Subject to being so retained, Evercore agrees that
   during the pendency of any such proceedings, it shall continue to perform its
   obligations under this Agreement and that it shall file interim and final applications
   for allowance of the fees and expenses payable to it under the terms of this
   Agreement pursuant to the applicable Federal Rules of Bankruptcy Procedure, and the
   local rules and orders of the Bankruptcy Court. The Company shall supply Evercore
   with a draft of the application and proposed retention order authorizing Evercore's
   retention sufficiently in advance of the filing of such application and proposed order
   to enable Evercore and its counsel to review and comment thereon. Evercore shall be
   under no obligation to provide any services under this agreement in the event that the
   Company becomes a debtor under the Bankruptcy Code unless Evercore' s retention
   under the terms of this Agreement is approved under Section 328(a) by final order of
   the Bankruptcy Court, not subject to appeal, which order is reasonably acceptable to
   Evercore. In so agreeing to seek Evercore's retention under Section 328(a), the
   Company acknowledges that it believes that Evercore's general restructuring
   experience and expertise, its knowledge of the capital markets and its merger and
   acquisition capabilities will inure to the benefit of the Company in pursuing any Debt
   Restructuring, that the value to the Company of Evercore's services hereunder derives
   in substantial part from that expertise and experience and that, accordingly, the
   structure and amount of the contingent fees are reasonable under the standard set
   forth in Section 328(a), regardless of the number of hours to be expended by
   Evercore's professionals in the performance of the services to be provided hereunder.
   No fee payable to any other person, by the Company or any other party, shall reduce
   or otherwise affect any fee payable hereunder to Evercore.

Other:

4. Evercore's engagement hereunder is premised on the assumption that the Company
   will make available to Evercore all information and data in Fund I's possession that
   Evercore reasonably deems appropriate in connection with its activities on the
   Company's behalf and will not omit or withhold any material information. The
   Company represents and warrants to Evercore that, to the Company's knowledge, any
   information heretofore or hereafter furnished to Evercore is and will be true and
   correct in all material respects. The Company recognizes and consents to the fact that
   (a) Evercore will use and rely on the accuracy and completeness of public reports and
   other information provided by others, including information provided by the
   Company, other parties and their respective officers, employees, auditors, attorneys or
   other agents in performing the services contemplated by this Agreement, and (b)


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   Evercore does not assume responsibility for, and may rely without independent
   verification upon, the accuracy and completeness of any such information.

5. Evercore's engagement hereunder (i) shall automatically terminate upon the closing
   of a Debt Restructuring, or (ii) may be earlier terminated by the Company or
   Evercore at any time upon written notice. Any termination shall be without liability or
   continuing obligation to the Company or Evercore, except that following such
   termination, Evercore shall remain entitled to any fees accrued pursuant to Section 2
   but not yet paid prior to such termination and to reimbursement of expenses incurred
   prior to such termination. In the case of a termination by the Company for any reason
   other than Cause (as defined below) or a termination by Evercore for Cause, Evercore
   shall remain entitled to full payment of all fees contemplated by Section 2 hereof in
   respect to any Debt Restructuring announced or occurring during the period from the
   date hereof until 9 months following such termination. For purposes hereof, "Cause"
   shall mean a party's conduct that is determined to be gross negligence, willful
   misconduct, bad faith or material breach of this Agreement after notice and a
   reasonable opportunity to cure.

6. Nothing in this Agreement, expressed or implied, is intended to confer or does confer
   on any person or entity other than the parties hereto or their respective successors and
   assigns, and to the extent expressly set forth in accordance with the indemnification
   agreement ("Indemnification Agreement") attached to this Agreement as Schedule I,
   the Indemnified Persons (as defined in the Indemnification Agreement), any rights or
   remedies under or by reason of this Agreement or as a result of the services to be
   rendered by Evercore hereunder. The Company acknowledges that Evercore is not
   acting as an agent of the Company or in a fiduciary capacity with respect to the
   Company and that Evercore is not assuming any duties or obligations other than those
   expressly set forth in this Agreement. Nothing contained herein shall be construed as
   creating, or be deemed to create, the relationship of employer and employee between
   the parties, nor any agency, joint venture or partnership. Evercore shall at all times be
   and be deemed to be an independent contractor. Nothing herein is intended to create
   or shall be construed as creating a fiduciary relationship between Evercore and the
   Company or its Board of Directors. No party to this Agreement nor its employees or
   agents shall have any authority to act for or to bind the other party in any way or to
   sign the name of the other party or to represent that that the other party is in any way
   responsible for the acts or omissions of such party.

7. As part of the compensation payable to Evercore hereunder, the Company agrees to
   indemnify Evercore and certain related persons in accordance with the
   Indemnification Agreement. The provisions of the Indemnification Agreement are an
   integral part of this Agreement, and the terms thereof are incorporated by reference
   herein. The provisions of the Indemnification Agreement shall survive any
   termination or completion of Evercore's engagement hereunder.

8. The Company agrees that it is solely responsible for any decision regarding a
   transaction, regardless of the advice provided by Evercore with respect to such a
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   transaction. The Company acknowledges that the Company's appointment of
   Evercore pursuant to this Agreement is not intended to achieve or guarantee the
   closing of a transaction and that Evercore is not in a position to guarantee the
   achievement or closing of a transaction.

9. The Company recognizes that Evercore has been engaged only by the Company and
   that the Company's engagement of Evercore is not deemed to be on behalf of and is
   not intended to confer rights on any shareholder, partner or other owner of the
   Company, any creditor, lender or any other person not a party hereto or any of its
   affiliates or their respective directors, officers, members, agents, employees or
   representatives. Unless otherwise expressly agreed, no one, other than senior
   management or the Board of Directors of the entities included within the definition of
   the Company or Fund I on page 1 or Sheridan Production Partners Manager, LLC
   ("Manager") (in its capacity as the manager of (a) each member of Fund I and the
   Company and (b) the general partners of each member of Fund I), is authorized to
   rely upon this engagement of Evercore or any statements, advice, opinions or conduct
   by Evercore. Without limiting the foregoing, any advice, written or oral, rendered to
   any Board of Directors or senior management of the Company or Manager (in its
   capacity as the manager of (a) each member of Fund I and the Company and (b) the
   general partners of each member of Fund I) in the course of this engagement of
   Evercore are solely for the purpose of assisting such senior management or such
   Board of Directors, as the case may be, in evaluating the Debt Restructuring or other
   transaction and does not constitute a recommendation to any stakeholder of any entity
   that such stakeholder might or should take in connection with a transaction. The
   Company and Manager agree that any advice, written or oral, rendered by Evercore
   may not be disclosed publicly or made available to third parties without the prior
   written consent of Evercore.

10. In order to coordinate Evercore's efforts on behalf of the Company during the period
    of Evercore's engagement hereunder, the Company will promptly inform Evercore of
    any discussions, negotiations, or inquiries regarding a potential transaction, including
    any such discussions or inquiries that have occurred during the six month period prior
    to the date of this Agreement.

11. This Agreement (including the Indemnification Agreement) and that certain
    Confidentiality Agreement dated May 19, 2016 between Evercore and the Sheridan
    Production Company, LLC (as extended by that certain Letter Agreement dated April
    19, 2018), embody the entire agreement and understanding between the parties hereto
    and supersede all prior agreements and understandings relating to the subject matter
    hereof. If any provision of this Agreement is determined to be invalid or
    unenforceable in any respect, such determination will not affect this Agreement in
    any other respect, which will remain in full force and effect. This Agreement may
    not be amended or modified except in writing signed by each of the parties.




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    12. In the event that, as a result of or in connection with Evercore's engagement for the
.       Company, Evcrcore becomes involved in any legal proceeding or investigation or is
        required by government regulation, subpoena or other legal process to produce
        documents, or to make its current or former personnel available as witnesses at
        deposition or trial, the Company will reimburse Evercore for the reasonable fees and
        expenses of its counsel incurred in responding to such a request. Nothing in this
        paragraph shall affect in any way the Company's obligations pursuant to the separate
        Indemnification Agreement attached hereto.

    13. The Company acknowledges that Evercore, in the ordinary course, may have received
        information and may receive information from third parties which could be relevant
        to this engagement but is nevertheless subject to a contractual, equitable or statutory
        obligation of confidentiality, and that Evercore is under no obligation hereby to
        disclose any such information or include such information in its analysis or advice
        provided to the Company. In addition, Evercore or one or more of its affiliates may
        in the past have had, and may currently or in the future have, investment banking,
        investment management, financial advisory or other relationships with the Company
        and its affiliates, potential parties to a transaction and their affiliates or persons that
        are competitors, customers or suppliers of (or have other relationships with) the
        Company or its affiliates or potential parties to a transaction or their affiliates, and
        from which conflicting interests or duties may arise. Nothing contained herein shall
        limit or preclude Evercore or any of its affiliates from carrying on (i) any business
        with or from providing any financial or non-financial services to any party
        whatsoever, including, without limitation, any competitor, supplier or customer of the
        Company, or any other party which may have interests different from or adverse to
        the Company or (ii) its business as currently conducted or as such business may be
        conducted in the future. The Company also acknowledges that Evercore and its
        affiliates engage in a wide range of activities for their own accounts and the accounts
        of customers, including corporate finance, mergers and acquisitions, equity sales,
        trading and research, private equity, asset management and related activities. In the
        ordinary course of such businesses, Evercore and its affiliates may at any time,
        directly or indirectly, hold long or short positions and may trade or otherwise effect
        transactions for their own accounts or the accounts of customers, in debt or equity
        securities, senior loans and/or derivative products relating to the Company or its
        affiliates, potential parties to a Transaction and their affiliates or persons that are
        competitors, customers or suppliers of the Company.

    14. The Company agrees to provide and procure all corporate, financial, identification
        and other information regarding the Company and control persons and/or beneficial
        owners, as Evercore may require to satisfy its obligations as a U.S. financial
        institution under the USA PATRIOT Act and Financial Crimes Enforcement Network
        regulations.




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15. For the convenience of the parties hereto, any number of counterparts of this
    Agreement may be executed by the parties hereto, each of which shall be an original
    instrument and all of which taken together shall constitute one and the same
    Agreement. Delivery of a signed counterpart of this Agreement by facsimile
    transmission or email shall constitute valid sufficient delivery thereof.

16. Except as provided herein, the parties hereby irrevocably consent to the exclusive
    jurisdiction of any New York State or United States federal court sitting in the
    Borough of Manhattan of the City ofNew York over any action or proceeding arising
    out of or relating to this Agreement, and the parties hereby irrevocably agree that all
    claims in respect of such action or proceeding may be heard in such New York State
    or federal court. The parties irrevocably agree to waive all rights to trial by jury in
    any such action or proceeding and irrevocably consent to the service of any and all
    process in any such action or proceeding by the mailing of copies of such process to
    each party at its address set forth above. The parties agree that a final judgment in
    any such action or proceeding shall be conclusive and may be enforced in other
    jurisdictions by suit on the judgment or in any other manner provided by law. The
    Agreement and any claim related directly or indirectly to this Agreement shall be
    governed by and construed in accordance with the laws of the State of New York
    (without regard to conflicts oflaw principles). The parties further waive any objection
    to venue in the State of New York and any objection to any action or proceeding in
    such state on the basis of forum non conveniens.


If the foregoing correctly sets forth the understanding and agreement between Evercore
and the Company, please so indicate in the space provided below, whereupon this letter
shall constitute a binding agreement as of the date hereof.

                                                Very truly yours,




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Agreed to and Accepted as of the Date
September 1, 2018:




By:
       Shannon E. Young
       Vice President and               cial Officer




By:

                                    ancial Officer

Sheridan Production Partners I-M, L.P.
By:    Sheridan Production Partners I, LLC,
       Its general partner


By:

                                     mci al Officer


                            ers Manager, LLC

By:
         annon E. Young
       Vice President and




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                                            Schedule I
                                   Indemnification Agreement


                                        October 16, 2018


Sheridan Investment Partners I, LLC
Sheridan Production Partners I-A, L.P.
Sheridan Production Partners I-M, L.P.
Attention: Shannon E. Young III, Vice President and Chief Financial Officer
9 Greenway Plaza, Suite 1300
Houston, Texas 77046

Gentlemen:

In connection with the engagement of Evercore Group L.L.C. ("Evercore") to render financial
advisory services to each of Sheridan Investment Partners I, LLC, Sheridan Production Partners
I-A, L.P., Sheridan Production Partners I-M, L.P. (collectively, the "Company") pursuant to the
engagement letter, dated October 16, 2018, the Company and Evercore are entering into this
Indemnification Agreement (this "Agreement"). It is understood and agreed that in the event
that Evercore or any of its members, partners, officers, directors, advisors, representatives,
employees, agents, affiliates or controlling persons, if any (each of the foregoing, including
Evercore, an "Indemnified Person"), become involved in any capacity in any claim, action,
proceeding or investigation brought or threatened by or against any person, including the
Company's stockholders, related to, arising out of or in connection with Evercore's engagement,
Evercore's performance of any service in connection therewith or any transaction contemplated
thereby, the Company will promptly reimburse each such Indemnified Person for its reasonable
legal and other expenses (including the reasonable cost of any investigation and preparation) as
and when they are incurred in connection therewith. For the avoidance of doubt this
Indemnification Agreement shall be effective as of the Effective Date, as defined in the
Engagement Letter.

The Company will indemnify and hold harmless each Indemnified Person from and against any
losses, claims, damages, liabilities or expense to which any Indemnified Person may become
subject under any applicable federal or state law, or otherwise, related to, arising out of or in
connection with Evercore's engagement, Evercore's performance of any service in connection
therewith or any transaction contemplated thereby, whether or not any pending or threatened
claim, action, proceeding or investigation giving rise to such losses, claims, damages, liabilities
or expense is initiated or brought by or on the Company's behalf and whether or not in
connection with any claim, action, proceeding or investigation in which the Company or an
Indemnified Person is a party, except to the extent that any such loss, claim, damage, liability or
expense is found by a court of competent jurisdiction in a judgment which has become final in
that it is no longer subject to appeal or review to have resulted primarily from such Indemnified
Person's gross negligence, bad faith or willful misconduct. The Company and Sheridan

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Production Partners Manager, LLC ("Manager") also agree that no Indemnified Person shall
have any liability (whether direct or indirect, in contract or tort or otherwise) to the Company,
Manager or their respective security holders or creditors related to, arising out of or in
connection with Evercore's engagement, Evercore's performance of any service in connection
therewith or any transaction contemplated thereby, except to the extent that any loss, claim,
damage, liability or expense is found by a court of competent jurisdiction in a judgment which
has become final in that it is no longer subject to appeal or review to have resulted primarily
from such Indemnified Person's gross negligence, bad faith or willful misconduct. Each
Indemnified Person shall promptly remit to the Company any amounts paid to such Indemnified
Person under this Agreement in respect of losses, claims, damages, liabilities or expense that
resulted from such Indemnified Person's gross negligence, bad faith or willful misconduct. If
multiple claims are brought against Evercore in an arbitration related to, arising out of or in
connection with Evercore's engagement, Evercore's performance of any service in connection
therewith or any transaction contemplated thereby, with respect to at least one of which such
claims indemnification is permitted under applicable law, the Company agrees that any
arbitration award shall be conclusively deemed to be based on the claims as to which
indemnification is permitted and provided for hereunder, except to the extent the arbitration
award expressly states that the award, or any portion thereof, is based solely on a claim as to
which indemnification is not available.

If for any reason the foregoing indemnification is unavailable to an Indemnified Person or
insufficient to hold it harmless, then the Company shall contribute to the loss, claim, damage,
liability or expense for which such indemnification is unavailable or insufficient in such
proportion as is appropriate to reflect the relative benefits received, or sought to be received, by
the Company and its security holders on the one hand and the party entitled to contribution on
the other hand in the matters contemplated by Evercore's engagement as well as the relative fault
of the Company and such party with respect to such loss, claim, damage, liability or expense and
any other relevant equitable considerations. The Company agrees that for the purposes hereof
the relative benefits received, or sought to be received, by the Company and its security holders
and Evercore shall be deemed to be in the same proportion as (i) the aggregate consideration paid
or contemplated to be paid or received or contemplated to he received by the Company or its
security holders, as the case may be, pursuant to a transaction contemplated by the engagement
(whether or not consummated) for which Evercore has been engaged to perform financial
advisory services bears to (ii) the fees paid or payable to Evercore in connection with such
engagement; provided, however, that, to the extent permitted by applicable law, in no event shall
Evercore or any other Indemnified Person be required to contribute an aggregate amount in
excess of the aggregate fees actually paid to Evercore for such financial advisory services. The
Company and Evercore agree that it would not be just and equitable if contribution hereunder
were determined by pro rata allocation or by any other method that does not take into account the
equitable considerations referred to herein. The Company's reimbursement, indemnity and
contribution obligations under this Agreement shall be in addition to any liability which the
Company may otherwise have, shall not be limited by any rights Evercore or any other
Indemnified Person may otherwise have and shall be binding upon and inure to the benefit of any


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successors, assigns, heirs and personal representatives of the Company, Evercore, and any other
Indemnified Persons.

If any claim, action, proceeding or investigation shall be brought, threatened or asserted against
an Indemnified Person in respect of which indemnity may be sought against the Company,
Evercore shall promptly notify the Company in writing, and the Company shall be entitled, at its
expense, and upon delivery of written notice to Evercore, to assume the defense thereof with
counsel reasonably satisfactory to Evercore. Such Indemnified Person shall have the right to
employ separate counsel in any such claim, action, proceeding or investigation and to participate
in the defense thereof, but the fees and expenses of such counsel shall be at the expense of such
Indemnified Person unless (i) the Company has agreed in writing to pay such fees and expenses,
(ii) the Company has failed to assume the defense, pursue the defense diligently or to employ
counsel in a timely manner or (iii) in such action, claim, suit, proceeding or investigation there is,
in the reasonable belief of such Indemnified Person, a conflict of interest or a conflict on any
material issue between the Company's position and the position of the Indemnified Person. It is
understood, however, that in the situation in which an Indemnified Person is entitled to retain
separate counsel pursuant to the preceding sentence, the Company shall, in connection with any
one such claim, action, proceeding, investigation or separate but substantially similar or related
claims, actions, proceedings or investigations in the same jurisdiction arising out of the same
general allegations or circumstances, be liable for the reasonable fees and expenses of only one
separate firm of attorneys at any time for all such Indemnified Persons (unless in the reasonable
belief of such Indemnified Persons, there is a conflict of interest or a conflict on any material
issue between the positions of such Indemnified Persons), which firm shall be designated in
writing by Evercore. The Company shall not be liable for any settlement or compromise of any
claim, action, proceeding or investigation (or for any related losses, claims, damages, liabilities
or expenses) if such settlement or compromise is effected without the Company's prior written
consent (which will not be unreasonably withheld).

The Company agrees that, without Evercore's prior written consent, it will not settle,
compromise or consent to the entry of any judgment in any pending or threatened claim, action,
proceeding or investigation in respect of which indemnification or contribution is reasonably
likely to be sought hereunder (whether or not Evercore or any other Indemnified Person is an
actual or potential party to such claim, action, proceeding or investigation), unless such
settlement, compromise or consent includes an unconditional release from the settling,
compromising or consenting party of each Indemnified Person from all liability arising out of
such claim, action, proceeding or investigation. No waiver, amendment or other modification of
this Agreement shall be effective unless in writing and signed by each party to be bound thereby.

For the convenience of the parties hereto, any number of counterparts of this Agreement may be
executed by the parties hereto, each of which shall be an original instrument and all of which
taken together shall constitute one and the same Agreement. Delivery of a signed counterpart of
this Agreement by facsimile transmission shall constitute valid sufficient delivery thereof.




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This Agreement and any claim related directly or indirectly to this Agreement shall be governed
by and construed in accordance with the laws of the State of New York (without regard to
conflicts of law principles). No such claim shall be commenced, prosecuted or continued in any
forum other than the courts of the State of New York located in the City and County of New
York or in the United States District Court for the Southern District of New York. Evercore and
the Company (on its own behalf and, to the extent permitted by applicable law, on behalf of its
stockholders and creditors) waive all right to trial by jury in any claim, action, proceeding or
counterclaim (whether based upon contract, tort or otherwise) related to or arising out of or in
connection with this Agreement.

Each party has all necessary corporate or limited liability company, as applicable, power and
authority to enter into this Agreement. All corporate or limited liability company, as applicable,
action has been taken by each party necessary for the authorization, execution, delivery of, and
the performance of all obligations of each of the parties under the Agreement, and each signatory
below is duly authorized to sign this Agreement on behalf of the party it represents.

This Agreement shall remain in effect indefinitely, notwithstanding any termination of
Evercore' s engagement.

                                             Very truly yours,




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Agreed to and Accepted as of the Date
September 1, 2018:




By:

                                    ancia l Officer

Sheridan Production Partners I-A, L.P.
By:    Sheridan Production Partners I, LLC,
       Its general part er


By:
        Shannon E. Young    Fl        t-"-l>
        Vice President and Chief Financial Officer

Sheridan Production Partners 1-M, L.P.
By:    Sheridan Production Partners I, LLC,
       Its general partne


By:

                                        ial Officer




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                              Exhibit B

                Evercore Time Records by Professional
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                                       SHERIDAN HOLDING COMPANY I, LLC
                                                          Time Detail
                                                         Evercore Inc.
                                              Jeremy Matican, Managing Director
                                                         March Hours
  Date                             Work Done                              Hours                  Code
3/23/2020   Prepare for telephonic Board Meeting                               1.0      6. Board Communication
3/23/2020   Telephonic Board Meeting regarding restructuring                   0.5      6. Board Communication
3/23/2020   Review Plan of Reorganization with Debtor                          2.0         8. Expert Testimony
3/23/2020   Review Disclosure Statement with Debtor                            2.0         8. Expert Testimony
3/23/2020   Prepare for First Day / Confirmation Hearing                       5.0   1. General Case Administration
3/23/2020   Review Retention Application                                       1.0       10. Evercore Retention
3/24/2020   First Day / Confirmation Hearing                                   1.0   1. General Case Administration
               Total                                                          12.5




                                                               2
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                                         SHERIDAN HOLDING COMPANY I, LLC
                                                             Time Detail
                                                             Evercore Inc.
                                                   Curtis Flood, Managing Director
                                                            March Hours
  Date                               Work Done                                Hours                     Code
3/23/2020   Prepare for telephonic Board Meeting                                      1.0      6. Board Communication
3/23/2020   Telephonic Board Meeting regarding restructuring                          0.5      6. Board Communication
3/23/2020   Confirmation Hearing Testimony Preparation                                8.0         8. Expert Testimony
3/24/2020   Travel to Debtor offices for First Day / Confirmation Hearing             0.5               9. Travel
3/24/2020   Confirmation Hearing Testimony Preparation                                2.0         8. Expert Testimony
3/24/2020   First Day / Confirmation Hearing                                          1.0   1. General Case Administration
               Total                                                                 13.0




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                                      SHERIDAN HOLDING COMPANY I, LLC
                                                        Time Detail
                                                       Evercore Inc.
                                                Evan Levine, Vice President
                                                       March Hours
  Date                            Work Done                              Hours                     Code
3/23/2020   Prepare for telephonic Board Meeting                                 1.0      6. Board Communication
3/23/2020   Telephonic Board Meeting regarding restructuring                     0.5      6. Board Communication
3/23/2020   Review First Day Hearing presentation                                0.5   1. General Case Administration
3/23/2020   Review Retention Application                                         1.5       10. Evercore Retention
3/24/2020   Review documents and prepare for Confirmation Hearing                2.0   1. General Case Administration
3/24/2020   First Day / Confirmation Hearing                                     1.0   1. General Case Administration
               Total                                                             6.5




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                                       SHERIDAN HOLDING COMPANY I, LLC
                                                         Time Detail
                                                         Evercore Inc.
                                                    Zichong Peng, Analyst
                                                         March Hours
  Date                             Work Done                                Hours                     Code
3/23/2020   Prepare for telephonic Board Meeting                                    0.5      6. Board Communication
3/23/2020   Telephonic Board Meeting for Restructuring                              0.5      6. Board Communication
3/23/2020   Follow-up requests from Board Meeting                                   0.5      6. Board Communication
3/23/2020   Prepare Evercore Retention Application                                  2.5       10. Evercore Retention
3/24/2020   First Day / Confirmation Hearing                                        1.0   1. General Case Administration
               Total                                                                5.0




                                                              5
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                                       SHERIDAN HOLDING COMPANY I, LLC
                                                         Time Detail
                                                         Evercore Inc.
                                                     Nathaniel Kostiw-Gill
                                                         March Hours
  Date                             Work Done                                 Hours                  Code
3/23/2020   Prepare for telephonic Board Meeting                                  0.5      6. Board Communication
3/23/2020   Telephonic Board Meeting for Restructuring                            0.5      6. Board Communication
3/23/2020   Testimony prep for C. Flood                                           8.0         8. Expert Testimony
3/24/2020   First Day / Confirmation Hearing                                      1.0   1. General Case Administration
               Total                                                             10.0




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                             Exhibit C

                   Certification of Jeremy Matican




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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                                  §
In re:                                                            § Chapter 11
                                                                  §
SHERIDAN HOLDING COMPANY I, LLC, et al.,1                         § Case No. 20-31885 (DRJ)
                                                                  §
                                   Reorganized Debtors.           § (Jointly Administered)
                                                                  §

                    DECLARATION OF JEREMY MATICAN
          REGARDING COMPLIANCE WITH COMPLEX CASE PROCEDURES

                 I, Jeremy Matican, hereby declare that the following is true to the best of my

knowledge, information, and belief:

                 1.       I am a Managing Director of the investment banking firm Evercore Group

L.L.C. (“Evercore”)

                 2.       This certification is made in connection with Evercore’s application for

final compensation and reimbursement of expenses for the period commencing March 23, 2020

through and including March 24, 2020, to which it is attached (the “Application”)2

                 3.       I am the professional at Evercore designated with the responsibility in

these chapter 11 cases for compliance with the Complex Case Procedures. In connection

therewith, I hereby certify that:




1
    The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized Debtor’s
    federal tax identification number, include: Sheridan Holding Company I, LLC (7648); Sheridan Investment
    Partners I, LLC (8607); Sheridan Production Partners I, LLC (8094); Sheridan Production Partners I-A, L.P.
    (8100); Sheridan Production Partners I-B, L.P. (8104); Sheridan Production Partners I-M, L.P. (8106); and SPP
    I-B GP, LLC (8092). The location of the Reorganized Debtors’ service address is: 1360 Post Oak Blvd., Suite
    2500, Houston, Texas 77056.

2
    Capitalized terms not otherwise defined herein shall have the meanings assigned to them in the Application.


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                       (a)   I have read the Application;


                       (b)   to the best of my knowledge, information, and belief, formed after

                             reasonable inquiry, the compensation and expense reimbursement

                             sought in the Application is in conformity with the Complex Case

                             Procedures, except as specifically noted therein; and


                       (c)   the compensation requested is billed at rates, in accordance with

                             practices, no less favorable than those customarily employed by

                             Evercore and generally accepted by Evercore’s clients.


                Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.

                                                            By: /s/ Jeremy Matican
                                                            Name: Jeremy Matican
                                                            Title: Managing Director




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                            Exhibit D

                     Fee and Expense Summary
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                           Fee and Expense Detail



          Debt Restructuring Fee
          Total Debt per Engagement Letter          $622,000,000.00
          (x) Debt Restructuring Fee (%)                    0.965%
            Total Debt Restructuring Fee              $6,002,300.00
          (-) Amount Paid Pre-Petition (50%)          (3,001,150.00)
          (-) Crediting of 5 Monthly Fees               (750,000.00)
             Debt Restructuring Fee Due [A]           $2,251,150.00
          Expenses
          Total Expenses                                  $6,261.00
            Total Expenses Owed [B]                       $6,261.00

          Total Fees and Expenses
          Total Fees and Expenses [A] + [B]           $2,257,411.00
          (-) Unused Retainer                            (14,545.68)
             Total Fees and Expenses Requested        $2,242,865.32




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                                   Reimbursable Expense Detail

    Date            Professional                      Expense Description   Amount
Legal Fees
   4/6/2020    Debevoise & Plimpton   Sheridan Legal Fees                   $6,261.00
  Legal Fees Total                                                          $6,261.00
  Total Expenses                                                            $6,261.00




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